              Case 3:18-bk-01164-JAF        Doc 67     Filed 05/24/18      Page 1 of 4



                                       ORDERED.


     Dated: May 24, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                 www.flmb.uscourts.gov
In Re:                                                        Chapter 11

EIHAB H. TAWFIK, M.D., P.A.,                                  Case No.: 3:18-bk-01164-JAF
d/b/a Christ Medical Center
d/b/a Town Center Medical Celebration

            Debtor.
________________________________/

         AGREED ORDER DENYING NAVITAS CREDIT CORP. F/K/A
       NAVITAS LEASE CORP.’S VERIFIED MOTION FOR RELIEF FROM
    AUTOMATIC STAY (DOC. 31); AND GRANTING ADEQUATE PROTECTION

         THIS PROCEEDING having come before the Court upon the Creditor, NAVITAS CREDIT

CORP. f/k/a NAVITAS LEASE CORP.’s (“NAVITAS”) Verified Motion for Relief from Automatic

Stay, or in the Alternative for Adequate Protection (Doc. 31). By submission of this Order for entry,

the submitting counsel represents that the opposing party consents to its entry. The Court having

reviewed the Motion and being otherwise duly advised, and in the premises, it is:

         Accordingly, it is ORDERED:

         1.     That NAVITAS’ Motion for Relief for Automatic stay is denied, without prejudice.

         2.     NAVITAS holds a first priority, perfected security interest, with no defenses,

counterclaims, or rights to setoff in the following equipment:

                One (1) Nerve Conduction Velocity System (Automatic Nervous
                System 1, Vascore System, Ultrasound Phillips “D” Cart,
                Vestibular Therapy System, Interocular Pressure Unit, Micro
                Vascular Therapy Unit)
              Case 3:18-bk-01164-JAF         Doc 67      Filed 05/24/18      Page 2 of 4



(the “Collateral”).

         3.      By agreement of the parties, and for the purposes of the adequate protection

payments only, the valuation of NAVITAS’ Collateral is $75,000.00.

         4.     That as a condition of this Court denying NAVITAS’ Motion for Relief from the

Automatic Stay, EIHAB H. TAWFIK, M.D., P.A. d/b/a Christ Medical Center d/b/a Town Center

Medical Celebration (hereinafter “DEBTOR”) shall comply with all the terms and conditions of this

Order.

         5.     By agreement of the parties, that as future adequate protection, DEBTOR shall pay

NAVITAS on its claim in the amount of $75,000.00 over 60 months, with 4% interest, and agrees
to pay monthly adequate protection payments of $1,381.24. The DEBTOR shall make adequate

protection payments to the Creditor, NAVITAS commencing August 20, 2018, and continuing on

the 20th day of each and every month thereafter until the full amount of NAVITAS’ claim is paid in

full. Payments will be applied in accordance with the terms of the Finance Agreement.

         6.     All payments due hereunder shall be made to: NAVITAS CREDIT CORP., Post

Office Box 935204, Atlanta, GA 31193-5204, unless otherwise instructed by NAVITAS.

         7.     All sales tax and personal property tax, and other taxes associated with the Collateral

shall be paid by DEBTOR and shall be the full responsibility of the DEBTOR, and shall be paid in

a timely manner.

         8.     That the DEBTOR shall maintain insurance coverage as required by the by the

Contract and documents associated therewith; as required by law; needed to protect the Collateral

adequately in an amount sufficient to cover the full value thereof, including, but not limited to public

liability insurance, fire and extended coverage insurance, burglary and theft insurance; such

insurance coverage to be placed with such companies, in such amounts, and with beneficial interest

appearing therein as is prudent. NAVITAS shall be named as a “loss payee” to the extent of its

interest in the Collateral and as an “additional insured” on any such policy and shall be provided with

any and all notices under the insurance policy(ies). The DEBTOR shall provide proof of said

                                                   2
             Case 3:18-bk-01164-JAF          Doc 67     Filed 05/24/18     Page 3 of 4



insurance within twenty-one (21) days of the date of this Order.

       9.      The DEBTOR shall keep the Collateral in good and reasonable condition and shall

perform regular maintenance on same in accordance with commercially reasonable maintenance

standards for such equipment. NAVITAS shall be provided access to inspect the Collateral upon

ten (10) days telephonic notice to DEBTOR.

       10.     That except as specifically modified herein, all provisions of the Finance Agreement

and other attachments shall remain unchanged and in full force and effect and this Order shall not

have any effect whatsoever on any personal guaranties, if any.

       11.     That DEBTOR shall strictly comply with the terms of this Order. If DEBTOR fails
to strictly comply with the terms of this Order, Creditor, NAVITAS, shall email notification of the

default to Debtor’s counsel, Daniel Velasquez, Esq., at dvelasquez@lseblaw.com giving the

DEBTOR 72 hours to cure the default. That should the DEBTOR fail to cure the default within 72

hours of the email notification, NAVITAS may file an affidavit of such fact reflecting a default, the

notification to cure, and the failure of the DEBTOR to cure the default. The DEBTOR then shall

have 72 hours to file a counter-affidavit with the Court stating such facts sufficient to prove to the

Court that DEBTOR is not in default of this Order. If DEBTOR fails to file a counter-affidavit

within 72 hours, the automatic stay imposed by 11 U.S.C. §362 shall terminate as to NAVITAS’

Collateral to allow NAVITAS to obtain possession of and dispose of such its Collateral, to exercise

any rights granted to it by state and/or federal law, and to exercise all rights granted to it by the

agreement of the parties, including, but not limited to, serving all notices required to preserve any

deficiency claim with a provision included therein that the DEBTOR shall fully cooperate with

NAVITAS’ recovery of the Collateral, an Order lifting the automatic stay imposed by 11 U.S.C.

§362 shall be entered by the Court without further notice and hearing, and by consenting to this

Order, DEBTOR consents to the entry of such Order granting relief from the automatic stay and

hereby waives the provision of Bankruptcy Rule 4001(a)(3) relating to the ten day stay following the

entry of an order granting relief from the automatic stay. If DEBTOR files a counter-affidavit within

                                                  3
             Case 3:18-bk-01164-JAF          Doc 67     Filed 05/24/18      Page 4 of 4



72 hours of NAVITAS’ affidavit of default, the Court shall schedule an expedited hearing on the

earliest available date and time of the Court. DEBTOR shall bear the burden of proof of any all such

contentions asserted by the counter-affidavit. Each affidavit described herein shall be served on the

same date it is filed with the Court.

       12.     Upon termination of the automatic stay imposed by §362(a) of the Bankruptcy Code

as set forth in this Order, NAVITAS, without further order of the Bankruptcy Court, shall be, and

will be, immediately entitled to exercise all rights and remedies available to it under applicable non-

bankruptcy law.

       13.     The DEBTOR will not cause any further liens to attach to NAVITAS’ Collateral. No
other costs and expenses of administration shall be imposed upon NAVITAS or its Collateral under

any Chapter of the Bankruptcy Code, whether by means of a surcharge under 11 U.S.C. 506(c).

       14.     This Order shall not prejudice the rights of any other creditor or the Court, with regard

to the valuations set forth in this Order, or the DEBTOR’s or NAVITAS’ respective rights to petition

the Bankruptcy Court for additional relief in the event of changed circumstances.




Attorney Eric B. Zwiebel, Esq., is directed to serve a copy of this order on interested parties who do
not receive served by CM/ECF and file a proof of service within three days of the entry of the order.




                                                  4
